                                                Account Holder Informaton

                   Account Holder 1                                                            Account Holder 2
Name:            ANDRZEJ SZPIECH                                      Name:
Address:         7717 W ARGYLE ST                                     Address:
City\State\Zip   NORRIDGE, IL 60706-3316                              City\State\Zip
SSN:             XXX-XX-XXXX                                          SSN:

                                                Statement Facsimile
                            Account Number: 6011-0081-4741-2461
           Statement Date: 11/19/2011             Current Balance: $9,051.23           Credit Limit: $0.00
  Posting Date             Reference          Transaction Date                   Description                      CR    Amount


11/14/2011                                    11/14/2011         LATE FEE                                         -       $35.00
10/14/2011                                    10/14/2011         LATE FEE                                         -       $35.00
09/14/2011                                    09/14/2011         LATE FEE                                         -       $35.00
08/23/2011                                    08/23/2011         LATE CHARGE REFUND                               -     ($35.00)
08/16/2011                                    08/16/2011         INTERNET PAYMENT - THANK                         -    ($215.00)
                                                                 YOU
08/16/2011                                    08/16/2011         LATE CHARGE REFUND                               -     ($35.00)
08/14/2011                                    08/14/2011         LATE FEE                                         -       $35.00
07/15/2011                                    07/15/2011         INTERNET PAYMENT - THANK                         -    ($216.00)
                                                                 YOU
07/14/2011                                    07/14/2011         LATE FEE                                         -       $35.00
06/21/2011                                    06/21/2011         LATE CHARGE REFUND                               -     ($25.00)
06/15/2011                                    06/15/2011         INTERNET PAYMENT - THANK                         -    ($218.00)
                                                                 YOU
06/14/2011                                    06/14/2011         LATE FEE                                         -       $25.00
05/18/2011                                    05/18/2011         CASH ADVANCE CHECK #9243                         -    $5,100.00
                                                                 USA
05/11/2011                                    05/11/2011         INTERNET PAYMENT - THANK                         -    ($120.00)
                                                                 YOU
04/13/2011                                    04/13/2011         INTERNET PAYMENT - THANK                         -    ($150.00)
                                                                 YOU

Credit Card Statement - 6011-0081-4741-2461                             File Date:                                     11/17/2011
